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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, et al;                     )
                                          )
               Plaintiffs,                )
                                          )
                                          )
v.                                        ) CIVIL ACTION
                                          ) FILE NO: 1:17cv02989-AT
BRIAN P. KEMP, et al.;                    )
                                          )
                                          )
              Defendants.                 )
                                          )
                                          )

              FULTON COUNTY DEFENDANTS’
 RESPONSE TO PLAINTIFF COALITION FOR GOOD GOVERNANCE
           MOTION FOR LEAVE TO FILE A THIRD
                  AMENDED COMPLAINT

      COME NOW the Fulton County Board of Registration and Elections

(“FCBRE”), Director Richard Barron, and members of the FCBRE, Mary Carole

Cooney, Vernetta Nuriddin, David J. Burge, Stan Matarazzo, Mark Wingate and

Aaron Johnson, (hereafter “Fulton County Defendants”) through counsel, and

hereby respond to Plaintiff’s Motion For Leave to File a Third Amended

Complaint as follows:

      This lawsuit was originally filed in the Superior Court of Fulton County on
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July 3, 2017 and was removed to this Court. This action has been pending in this

Court since August 8, 2017 (Notice of Removal with Complaint; Doc. 1). Now,

some of the Plaintiffs attempt to restart the litigation by filing another amended

Complaint. The requested amendment should be denied because of the delay and

confusion that it will cause. If this Court were to grant the proposed amendment,

additional delay would inherently follow because the proposed amended complaint

does not involve all of the Plaintiffs or all of the Defendants. Thus, the Court

would inevitably have to track and rule on two sets of claims in the one case.

      During the pendency of this action, Defendant’s Fulton County has

sequestered electronic voting equipment pursuant to Plaintiffs’ prior counsels’

placement of a litigation hold on Fulton County Registration and Elections Direct

Recording Electronic (DRE) voting equipment and media inventory that was used

in the elections held in April and June of 2017. See Affidavit of Richard Barron, ¶

4 attached to Defendant Fulton County’s Motion to for Status Conference (Doc.

169). Defendant Fulton County is now again on the eve of an election and the

litigation hold continues to hamper our ability to provide election services to its

citizens. The undue burden that the litigation holds has placed on Fulton County

has been outlined in Fulton County’s Motion to for Status Conference and its

attached affidavit (Doc. 169). The additional delay that would be caused by the


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grant of the proposed amended complaint would further cripple Fulton County’s

ability to provide sufficient election services. Plaintiffs have failed to identify a

sampling of the electronic voting machines as former counsel initially

communicated. Thus, Fulton County’s voting equipment has been effectively held

in limbo for the better part of a year.

      Given the undue burden that has been placed on Fulton County and the

withdrawal of former Plaintiffs’ counsel from this case, Fulton County requests

that it be relieved from the litigation hold that was previously filed and which has

resulted in the sequestration and inability to utilize 762 voting machines (756

DREs and 6 Optical Scanners (OS)). This number of machines amounts to twenty

four percent of Fulton County’s DRE inventory and fifteen percent of the OS

inventory which could be distributed so as to provide more efficient voting

services to its electors. Access to this equipment can amount to additional voting

equipment being made available in polling locations and more inventories to

address equipment failures that may occur during advance voting and on voting

day. The increased capability that would result from availability of the currently

sequestered equipment could ultimately amount to shorter lines and less wait time

for electors during advance voting and on Election Day.

      To the extent the proposed Third Amended Complaint filed by Plaintiffs


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contains new allegations regarding Fulton County’s conduct on Election Day; such

claims are barred by Plaintiffs’ failure to exhaust administrative remedies. The

State Election Board has undertaken an investigation into these activities and is the

proper entity to determine if election laws, rules or regulations were in fact

violated by those conducting elections. As such, Plaintiffs are barred from first

seeking relief in the courts.

      Additionally, rather than streamlining this lawsuit, the proposed third

amendment of the complaint would fracture this case into two lawsuits for all

practical purposes. Indeed, “[b]ecause of the inherent confusion that would result

from fracturing the case with different complaints, the Coalition Plaintiffs'

unilateral motion (without the consent of their Co­Plaintiffs), satisfies none of the

relevant criteria for a proper amendment under Rule 15. The ‘streamlining’

promised by Coalition Plaintiffs' Motion (Doc. 160 at 2), is a mirage.” Defendants

Kemp and State Election Board officials Response to Motion for Leave to File

Third Amended Complaint, pp.1-2.

      Accordingly, Fulton County joins in the arguments asserted by Secretary

Kemp and the State Elections Board in response to the Third Motion to Amend the

Complaint and asks that the Court deny Plaintiff CGG’s Motion.




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    Respectfully submitted this 18th day of April, 2018.



                                          OFFICE OF THE COUNTY
                                          ATTORNEY

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                                          JOHNSON, AND THE FULTON
                                          COUNTY BOARD OF
                                          REGISTRATION & ELECTIONS

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                                        CERTIFICATE OF SERVICE

           I hereby certify, that on this date, I have electronically filed the foregoing

 FULTON COUNTY DEFENDANTS’                                                  RESPONSE TO PLAINTIFF

 COALITION FOR GOOD GOVERNANCE’S MOTION FOR LEAVE TO

 FILE A THIRD AMENDED COMPLAINT with the Clerk of Court using the

 CM/ECF system, with the Clerk of Court using the CM/ECF system, which will

 send email notification of such filing to all attorneys of record.

          This 18th day of April, 2018.

                                                                        /s/ David R. Lowman
                                                                        Georgia Bar Number: 460298
                                                                        david.lowman@fultoncountyga.gov


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Response to CGG's Motion for Leave to File a Third Amended Complaint.docx




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